Ms. Melinda Raley Deputy City Attorney 500 West Markham, Suite 310 Little Rock, AR 72201
Dear Ms. Raley:
You have requested approval of three interlocal agreements, pursuant to the Interlocal Cooperation Act (A.C.A. § 25-20-101 et seq.). The agreements are between the City of Little Rock, Arkansas and (1) the City of Lonoke, Arkansas, (2) the City of Sheridan, Arkansas, and (3) Grant County, Arkansas, respectively. These three agreements each provide for the provision of ambulance service by the Metropolitan Emergency Medical Services System, which was established by the Little Rock Ambulance Authority.
It is my opinion that my approval is not required by the Interlocal Cooperation Act in order for these agreements to be valid.
The Interlocal Cooperation Act contemplates the joint exercise of governmental powers, privileges, or authority through cooperative action in order to make the most efficient use of those powers. See Op. Att'y Gen. No. 96-309. Attorney General approval of agreements for such joint exercise of governmental power is required. See A.C.A. § 25-20-105.
Attorney General approval is not necessary, however, for contractual agreements between public agencies for services. (Agreements of this nature are authorized by A.C.A. § 25-20-108(a).) See Op. Att'y Gen. No.96-309. The agreements that you have presented appear to be contractual agreements between public agencies for services.
For this reason, I conclude that my approval of these agreements is not a necessary condition for their validity.
Assistant Attorney General Suzanne Antley prepared the foregoing opinion, which I hereby approve.
Sincerely,
MARK PRYOR Attorney General
MP:SA/cyh